              Case 21-30630 Document 66 Filed in TXSB on 02/24/21 Page 1 of 4




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                           )
    In re:                                                 )   Chapter 11
                                                           )
    BELK, INC., et al.,1                                   )   Case No. 21-30630 (MI)
                                                           )
                             Debtors.                      )   (Jointly Administered)
                                                           )
                                                           )   Re: Docket Nos. 10, 61, and 62

                      NOTICE OF (I) ENTRY OF ORDER APPROVING
                   THE DEBTORS’ DISCLOSURE STATEMENT FOR, AND
                  CONFIRMING, THE DEBTORS’ JOINT PREPACKAGED
             CHAPTER 11 PLAN AND (II) OCCURRENCE OF THE EFFECTIVE DATE

TO ALL CREDITORS, INTEREST HOLDERS, AND OTHER PARTIES IN INTEREST:

        PLEASE TAKE NOTICE that, on February 24, 2021, the Honorable Marvin Isgur,
United States Bankruptcy Judge of the United States Bankruptcy Court for the Southern District
of Texas (the “Bankruptcy Court”), entered the Order Approving the Debtors’ Disclosure
Statement for, and Confirming, the Debtors’ Joint Prepackaged Chapter 11 Plan [Docket No. 61]
(the “Confirmation Order”), confirming, as modified therein, the Joint Prepackaged Plan of
Reorganization of Belk, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy
Code (Technical Modifications) [Docket No. 10] (the “Plan”), and immediately afterward entered
the Due Process Preservation Order [Docket No. 62] (the “Due Process Preservation Order”) with
respect thereto.2

       PLEASE TAKE FURTHER NOTICE that the Effective Date of the Plan occurred on
February 24, 2021.

       PLEASE TAKE FURTHER NOTICE that all requests for payment of Professional Fee
Claims for services rendered and reimbursement of expenses incurred prior to the Confirmation
Date must be Filed no later than forty-five (45) days after the Effective Date. The Bankruptcy
Court shall determine the Allowed amounts of such Professional Fee Claims after notice and a
hearing in accordance with the procedures established by the Bankruptcy Court. The Reorganized
Debtors shall pay Professional Fee Claims in Cash in the amount the Bankruptcy Court allows,
including from the Professional Fee Escrow Account, which the Reorganized Debtors will


1
      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.primeclerk.com/belk. The location of the Debtors’ service address is
      2801 West Tyvola Road, Charlotte, North Carolina 28217.
2
      Capitalized terms used but not defined herein shall have the meanings given to them in the Plan or the
      Confirmation Order, as applicable.
        Case 21-30630 Document 66 Filed in TXSB on 02/24/21 Page 2 of 4




establish in trust for the Professionals and fund with Cash equal to the Professional Fee Amount
on the Effective Date.

        PLEASE TAKE FURTHER NOTICE that, in accordance with the Due Process
Preservation Order, (a) each person or governmental unit will have until March 31, 2021 to elect
to opt out of the releases contained in the Plan or the Confirmation Order, and (b) the Debtors, in
consultation with the United States Trustee, are preparing an opt-out notice to be served on each
“Releasing Party” under the Plan (the “Opt-Out Notice”).

      PLEASE TAKE FURTHER NOTICE that, the Court will conduct a hearing on
March 1, 2021 at 4:00 p.m. (Central Time) to approve the form of the Opt-Out Notice.

        PLEASE TAKE FURTHER NOTICE that, subject to the Due Process Preservation
Order, the Plan and its provisions are binding on the Debtors, the Reorganized Debtors, any Holder
of a Claim or Interest and such Holder’s respective successors and assigns, whether or not the
Claim or Interest of such Holder is Impaired under the Plan, and whether or not such Holder or
Entity voted to accept the Plan.

       PLEASE TAKE FURTHER NOTICE that, the Plan and Confirmation Order contain
other provisions that may affect your rights. You are encouraged to review the Plan and
Confirmation Order in their entirety.

       PLEASE TAKE FURTHER NOTICE that copies of the Due Process Preservation
Order, the Confirmation Order, the Plan, and all documents filed in these chapter 11 cases are
available free of charge by visiting https://cases.primeclerk.com/belk. You may also obtain copies
of any pleadings by visiting the Bankruptcy Court’s website at https://ecf.txsb.uscourts.gov in
accordance with the procedures and fees set forth therein.




                                                2
       Case 21-30630 Document 66 Filed in TXSB on 02/24/21 Page 3 of 4




Houston, Texas
February 24, 2021

/s/ Kristhy M. Peguero
Kristhy M. Peguero (TX Bar No. 24102776)     Joshua A. Sussberg, P.C. (admitted pro hac vice)
Matthew D. Cavenaugh (TX Bar No. 24062656)   Steven N. Serajeddini, P.C. (admitted pro hac vice)
JACKSON WALKER L.L.P.                        Matthew C. Fagen (admitted pro hac vice)
1401 McKinney Street, Suite 1900             KIRKLAND & ELLIS LLP
Houston, Texas 77010                         KIRKLAND & ELLIS INTERNATIONAL LLP
Telephone:      (713) 752-4200               601 Lexington Avenue
Facsimile:      (713) 752-4221               New York, New York 10022
Email:          kpeguero@jw.com              Telephone:      (212) 446-4800
                mcavenaugh@jw.com            Facsimile:      (212) 446-4900
                                             Email:          joshua.sussberg@kirkland.com
                                                             steven.serajeddini@kirkland.com
                                                             matthew.fagen@kirkland.com

Proposed Co-Counsel to the Debtors           Proposed Co-Counsel to the Debtors
and Debtors in Possession                    and Debtors in Possession
        Case 21-30630 Document 66 Filed in TXSB on 02/24/21 Page 4 of 4




                                      Certificate of Service

        I certify that on February 24, 2021, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                       /s/ Kristhy M. Peguero
                                                       Kristhy M. Peguero
